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Exhibit D

Order Denying Motion to Intervene and Amend Complaint to
Allege State Law Claims for the Other Repealer States
United States District Court
Northem District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN RE: CATHODE RAY TUBE (CRT) Case No. 07-cv-05944-JST
ANTITRUST LITIGATION

ORDER DENYING MOTION TO
This Order Relates To: INTERVENE AND AMEND

COMPLAINT TO ALLEGE STATE
ALL INDIRECT PURCHASER ACTIONS LAW CLAIMS FOR THE OTHER

REPEALER STATES
Re: ECF No. 5567

Before the Court is the Other Repealer States’ motion to intervene and file an amended
complaint. ECF No, 5567. The Court will deny the motion.
I. BACKGROUND

In February 2008, the Judicial Panel on Multidistrict Litigation ordered the centralization
of actions alleging that certain Defendants conspired to fix prices of cathode ray tubes. See Jn re
Cathode Ray Tube (CRT) Antitrust Litig,, 536 F. Supp. 2d 1364 (J.P.M.L. 2008). On July 7, 2016,
this Court granted final approval of settlement agreements which resolved claims between one set
of plaintiffs — the Indirect Purchaser Plaintiffs (“IPP Plaintiffs”) — and six sets of corporate
defendants. ECF No. 4712 at 1. Two objectors sought appeal of this decision in the Ninth Circuit.
ECF No. 4741.

On November 8, 2018, this Court issued an order in which it concluded that it erred in
approving the settlement provision which required class members in certain Omitted Repealer
States to release their claims without compensation. See ECF No. 5362 at 1. The order expressed
“concerns about the adequacy of the counsel who negotiated that settlement or whether they may
have faced a conflict of interest.” fd. at 1. In response, the Ninth Circuit remanded “this case so

that the district court [could] reconsider its approval of the settlement.” See Jn re Cathode Ray

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Northem District of California

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Tube Antitrust Litig., No. 16-16368 (9th Cir. Feb. 13, 2009), ECF No. 238 at 11.

On remand, this Court confirmed the existing lead counsel for the IPP Plaintiffs and
appointed separate counsel for an Omitted Repealer State subclass (“ORS Subclass”)! as well as a
Non-Repealer State subclass (“NRS Subclass). ECF Nos. 5535, 5518. The Court then referred
the matter to Magistrate Judge Corley for settlement. ECF No. 5427.

On August 23, 2019, members of the ORS Subclass moved to intervene in this litigation
and file an amended complaint. ECF No. 5567 at 9-10, 20, 28. The IPP Plaintiffs and Defendants
both oppose this motion. ECF Nos. 5592, 5593, 5591. The ORS Movants have filed a reply.

ECF No. 5611.
Il. JURISDICTION

The Court has jurisdiction pursuant to 28 U.S.C. § 1332(d)(2).
Ill, MOTION TO INTERVENE

Federal Rule of Civil Procedure 24 requires that a motion to intervene “be accompanied by
a pleading that sets out the claim or defense for which intervention is sought.” Fed. R. Civ. P.
24(c); Buffin v. City and County of San Francisco, No. 15-cv-04959-YGR, 2016 WL 6025486, at
*12 (N.D. Cal. Oct. 14, 2016) (citing Beckman Industries, Inc. v. Int’l Ins. Co., 966 F.2d 470, 474
(9th Cir. 1992).

ORS Movants have filed a pleading which seeks to adopt an amended version of IPP
Plaintiffs’ operative complaint. See ECF No. 5567 (The proposed complaint “adds the ORS
Plaintiffs as named parties” and “adopts and incorporates the relevant, preceding allegations of the
current complaint, adding only the supplemental state law counts.”); ECF Nos. 5590-1, 5590-2.
ORS Movants’ intervention motion may “provide[] enough information to state a claim and for

the court to grant intervention.” See Lennar Mare Island, LLC y, Steadfast Ins. Co., Nos. 2:12-cv-

' The ORS Subclass consists of Indirect Purchaser Plaintiffs in the following states: Arkansas,
Massachusetts, Missouri, Montana, New Hampshire, Oregon, Rhode Island, South Carolina, and
Utah. ECF No. 5518 at 1.

? The NRS Subclass consists of Indirect Purchaser Plaintiffs in the following Non-Repealer States:
Alabama, Alaska, Colorado, Connecticut, Delaware, Georgia, Idaho, Illinois, Indiana, Kentucky,
Louisiana, Maryland, New Jersey, Ohio, Oklahoma, Pennsylvania, Texas, Virginia, Washington, and
Wyoming. ECF No, 5518 at 2.

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Northern District of California

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02182-KJM-KJN, 2:16-cv-00291-KJM-KJN, 2016 WL 5847010, at *6 (E.D. Cal. Oct. 6, 2016).
Nevertheless, the Court requires the ORS Movants “to file a separate pleading to fully apprise
defendant[s] and the court of the basis for its claims in intervention.” See id. “In a complex multi-
party case such as this one, a separate pleading will assist the court in policing the parameters of
the case in intervention.” /d, ORS Movants acknowledge the “divergence of interests with [IPP
Plaintiffs] on certain issues . . . bolstering the advisability of a separate complaint.” See id; ECF
No. 5567 at 18 (“IPP Counsel represents a class of individuals with interests diametrically
opposed to the ORS Plaintiffs”).?

In addition to these considerations, there is the practical reality that ORS Movants are
attempting to amend someone else’s complaint. They cite no authority permitting a proposed
intervenor to take such a step, and the Court concludes it is not allowed. Thus, even if their
motion to intervene could be granted, their motion to amend the existing IPP complaint would fail.

The Court therefore denies the motion to intervene without prejudice to a renewed motion

accompanied by a separate pleading. That motion is due by November 12, 2019.

CONCLUSION
For the foregoing reasons, the Court denies ORS Movants’ motion to intervene and amend
the complaint without prejudice.
IT IS SO ORDERED.
Dated: October 17, 2019

JON S. TIGAR
nited States District Judge

3} The Court also notes that ORS Movants violated Northern District of California Civil Local Rule
5-1(i)(3) by filing a proposed “Indirect Purchaser Plaintiffs’ Sixth Consolidated Amended
Complaint” with no attestation that each signatory concurred in the document’s filing. See ECF
Nos. 5590, 5590-1, 5590-2. In their opposition, IPP Plaintiffs assert that ORS ‘Plaintiffs’ counsel
never even provided a copy of the proposed amended complaints to IPP Lead Counsel before
filing, much less received his concurrence.” ECF No. 5593 at 8. The Court interprets ORS
Movants’ failure to respond as a concession, See Angeles v. U.S. Airways, Inc., No. C 12-05860
CRB, 2013 WL 622032, at *4 (“The failure to respond amounts to a concession.”).

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